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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                           
                                                                 for the                                                     Jun 06 2023
                                                                                                                            -ARK""USBY
                                                     Northern District
                                                   __________  DistrictofofCalifornia
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                  United States of America                          )   FILED UNDER SEAL                                      

                             v.                                     )
                                                                    )      Case No.     4:23-mj-70818-MAG
                       Robert BROWN                                 )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   December 1, 2022              in the county of            Contra Costa                 in the
     Northern          District of             California       , the defendant(s) violated:

            Code Section                                                      Offense Description
18 USC 922(g)(1)                                 Felon in Possession of Ammuniton
                                                 Maximum Penalities:

                                                 10 years imprisonment
                                                 3 years of supervised release
                                                 $250,000 fine
                                                 $100 special assessment
                                                 Forfeiture

         This criminal complaint is based on these facts:
See Affidavit of Special Agent Nathan Sanchez




         ✔ Continued on the attached sheet.
         u

                                                                                                         /s/   1DWKDQ6DQFKH]
                                                                                               Complainant’s signature
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         $SSURYHGDVWRIRUPBBBBBBBBBBBBBBB
                                                                                        Special Agent Nathan Sanchez
                                     $OH[LV-DPHV
                            $86$BBBBBBBBBB
                                                                                                Printed name and title

Sworn to before me E\WHOHSKRQH.


Date:     -XQH
                                                                                                  Judge’s signature

City and state:                         Oakland, California                         Chief Magistrate Judge Donna M. Ryu
                                                                                                Printed name and title
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    AFFIDAVIT IN SUPPORT OF APPLICATION FOR A CRIMINAL COMPLAINT

       I, NATHAN SANCHEZ, Special Agent with the Bureau of Alcohol, Tobacco, Firearms,

and Explosives, being duly sworn, hereby depose and say:

                                         INTRODUCTION

       1.      I am a Special Agent with the Bureau of Alcohol, Tobacco, Firearms, and

Explosives (ATF), and have been so employed since September 2012. I am a law enforcement

officer of the United States within the meaning of Title 18, United States Code, Section 2510(7).

I am a graduate of the Federal Law Enforcement Training Center Criminal Investigator Training

Program and the ATF National Academy Special Agent Basic Training Course. My duties

include the investigation of criminal violations of federal firearms, explosives, and arson laws, as

well as those involving violent crime.

       2.      As an ATF Special Agent, I have conducted and participated in both state and

Federal investigations involving the trafficking of firearms and distribution of controlled

substances. I have investigated and assisted in the prosecution of criminal street gangs engaged in

illegal narcotics and firearms trafficking. During these investigations, I have used various types of

investigative techniques, including electronic surveillance; undercover agents and informants; and

controlled purchases of firearms and narcotics from suspects. I have participated in physical

surveillance operations and have participated in the execution of state and federal arrest warrants

and search warrants. In addition to utilizing the aforementioned investigative techniques, I have

been required during these investigations to analyze information resulting from traditional record

searches, pen registers and trap and trace devices, phone cell-site data, precision phone location

data, utility records, and telephone toll and subscriber records.




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                                 PURPOSE OF THIS AFFIDAVIT

       3.      The purpose of this affidavit is to obtain a criminal complaint and arrest warrant

for Robert BROWN. To that end, this affidavit seeks to establish probable cause to believe that,

on or about December 1, 2022, in the Northern District of California, BROWN violated 18

U.S.C. § 922(g)(1), being a felon in possession of ammunition (the “Target Offense”).

       4.      The information contained within this affidavit is based upon information I have

gained from my personal knowledge, on my review of reports prepared by other law

enforcement officers and records prepared by others, on conversations I have had with other law

enforcement officers involved in this investigation, and my training, experience and information

received from other law enforcement officers. Because this affidavit is being submitted for the

limited purpose of securing a criminal complaint, I have not included each and every fact known

to me concerning this investigation. I have set forth only those facts that I believe are sufficient

to establish probable cause to believe that has violated 18 U.S.C. § 922 (g)(1) – felon in

possession of ammunition.

                                       APPLICABLE LAW

        5.     The elements of the Target Offense are as follows: the defendant (1) knowingly

possessed ammunition; (2) that ammunition had been shipped or transported from one state to

another, or between a foreign nation and the United States; (3) at the time the defendant

possessed the ammunition, the defendant had been convicted of a crime punishable by

imprisonment for a term exceeding one year; and (4) at the time the defendant possessed the

ammunition, the defendant knew he had been convicted of a crime punishable by imprisonment

for a term exceeding one year.




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                                         PROBABLE CAUSE

      BROWN is Arrested on August 18, 2022, and Found in Possession of a Firearms,
                         Ammunition, Drugs, and a Silencer.

       6.        On or August 18, 2022, Contra Costa County Sheriff Office (CCCSO) Deputies

were on patrol in the city of Pittsburg, CA. At approximately 8:07 P.M., the deputies were

stopped northbound of Madison Avenue just south of the intersection with Franklin Avenue. One

of the deputies, who is also the operator of a police service dog (drug K9), observed a silver

Chevrolet Corvette (CA License Plate: 8ZQA***) make a right turn northbound on Madison

Avenue from South Street.

       7.        The K9 deputy recognized the Corvette to be a vehicle driven by Robert

BROWN. The K9 deputy knew BROWN to live at 250 Cleveland Avenue in Bay Point, CA,

which is one street east of Madison Avenue. The deputy knew BROWN was being investigated

for narcotics sales. Further, the deputy knew that a CCCSO detective had recently located

evidence of BROWN engaged in narcotic sales from a review of cellular phone downloads.

            a.   I have reviewed a record for the Corvette from the California Department of

                 Motor Vehicles dated August 19, 2022. The record shows the registered owner to

                 be Brian Wortman and the registered address to be 5520 Indiana Drive, Concord,

                 CA.

            b.   Based on my training and experience, I know that it is not uncommon for

                 individuals involved in criminal activity to utilize vehicles which are not

                 registered to their own names. Criminal suspects do this to avoid being associated

                 to vehicles that they utilize to conduct their illicit activities.

       8.        The Corvette accelerated north on Madison Avenue, which is a residential area

with a posted speed limit of 25 miles per hour. The deputies drove northbound on Madison


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Avenue behind the Corvette, and it began to accelerate away from the deputies. The deputies

were traveling at 55 miles per hour and the Corvette was pulling away from them, in violation of

CVC 22350 (speeding). The K9 deputy activated the patrol emergency lights in order to initiate a

traffic enforcement stop for the speeding violation. The Corvette failed to yield. The K9 deputy

then activated the emergency siren.

       9.      During this time, the deputies broadcasted to local police, including Antioch

Police Department (APD) in the area, that they were in pursuit of the Corvette. Two APD

officers, operating a patrol vehicle, began to attempt to locate the vehicle. One of the APD

officers observed the Corvette parked partially on the street and partially in the driveway of 250

Cleveland Avenue. At approximately 8:10 P.M., the APD officers broadcast that they had located

the Corvette. The officers pulled up to the vehicle and the driver, BROWN, stepped out of the

driver’s side door. The officers placed BROWN in handcuffs. During this time, the CCCSO

deputies arrived at the location.

       10.     The K9 deputy believed BROWN had fled because he had illegal drugs or

weapons on his person or in his vehicle and did not want to be stopped and arrested by law

enforcement. The K9 deputy explained she believed this due to her knowledge of BROWN and

his association with narcotics sales. At this time, the K9 deputy decided to utilize their police dog

to sniff the Corvette. The police service dog is P.O.S.T. (Police Officer Standard of Training)

certified to locate the odor of methamphetamine, cocaine, and heroin. The K9 deputy walked the

police dog to the driver side rear of the Corvette. The driver side door to the Corvette was

currently already open from when BROWN had stepped out of the vehicle earlier. The K9

deputy commanded the police dog to sniff the vehicle. The police dog walked toward the open

driver side door of the Corvette. Without being commanded to do so, the police dog jumped into



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the Corvette through the open door and began sniffing the interior of the vehicle as it moved

between the driver side and passenger side seats. The police dog began sniffing intently near the

center console in between the two seats. The police dog squatted down and hovered over the

center console while staring at the K9 deputy. This indicated to the K9 deputy the police dog had

located one of the above listed drug odors.

       11.      The vehicle was searched by a CCCSO deputy who located three plastic baggies

containing suspected methamphetamine in the center console and two cellular phones on the side

of the driver’s seat. Due to this finding, the deputy believed there were additional narcotics inside

of the vehicle. The trunk of the vehicle was searched, and a backpack was located along with a

box which contained a large amount of cash. The backpack contained the following:

             a. Two gallon size bags which contained suspected methamphetamine.

             b. Two sandwich size baggies of suspected heroin.

             c. One sandwich size bag of suspected fentanyl pills.

             d. One Black, non-serialized, .22 caliber, privately manufactured handgun.

                     i. Loaded with 10 rounds of .22 caliber ammunition, manufacturer: Cascade

                        Cartridges, Inc.

             e. One Beige, non-serialized, 9mm, privately manufactured handgun.

                     i. Loaded with 3 rounds of 9mm ammunition, manufacturer: Federal

                        Cartridge Company.

             f. One Black firearm silencer.

             g. Additional: a black firearm holster, digital weighing scale, and two magnetic

                containers.




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       12.      CCCSO deputies arrested BROWN for fleeing police and various state

drug/firearm violations, which also included felon in possession of a firearm.

       13.      During this event, the K9 deputy collected a DNA oral swab from BROWN while

he was seated in a patrol vehicle.

       14.       The seized drugs were later submitted to the CCCSO Forensic Services Division.

The drugs were found to test positive for methamphetamine, heroin, and fentanyl. Regarding the

seized fentanyl pills, the lab estimated the amount to be 1,382 pills.

       15.      The two firearms seized by CCCSO were later submitted to the CCCSO Forensics

Services Division to be DNA swabbed. I have reviewed the lab report which revealed the

following:

             a. From the 9mm handgun, a DNA mixture of at least five contributors was

                obtained. The DNA mixture was not suitable for comparison due to the number of

                contributors.

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             b. From the .22 caliber handgun, the DNA result was interpreted as a mixture of four

                individuals and determined to be suitable for comparison. The mixture is at least

                20 octillion (10^27) times more likely if it originated from BROWN and three

                unknown, unrelated individuals than if it originated from four unknown, unrelated

                individuals. This analysis provides very strong support for the proposition that

                Brown is a contributor to the mixture.

        BROWN is Arrested on December 1, 2022, and Found in Possession of a Firearm,
                                Ammunition, and Drugs

       16.      On or about December 1, 2022, a CCCSO Detective obtained a state search

warrant to search BROWN, two vehicles associated to BROWN (Dodge Ram & Chevrolet

Camaro), and his shop, located at 2250 Freed Way, Pittsburg, CA. The search warrant was signed

by Contra Costa County Honorable Judge Laurel Brady.

             a. The probable cause for this search warrant included information from the arrest of

                BROWN on August 18, 2022, among other evidence. Additionally, it included

                information from a review of the cell phones (pursuant to another state search

                warrant) which were seized from BROWN’s vehicle. From a review of the cell

                phone forensic downloads, a CCCSO detective found text message conversations

                between BROWN and other subjects where the subjects were attempting to buy

                controlled substances from BROWN. Additionally, the CCCSO detective also

                located photographs of firearms.

             b. The probable cause also included evidence found from a cellular phone belonging

                to a different individual, J.M., who was arrested by CCCSO during October 2022.

                A state search warrant was obtained to search this cellular phone. A CCCSO

                detective reviewed the messages and found that J.M. communicated with a phone

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                number associated to BROWN. The messages included J.M. discussing

                purchasing drugs from BROWN.

       17.      On or about December 1, 2022, CCCSO deputies served the search warrant.

BROWN was detained outside of 2250 Freed Way, Pittsburg, CA by deputies as BROWN

arrived at the location and parked his Dodge Ram truck. Several other occupants were inside the

vehicle who were also detained.

       18.      CCCSO deputies conducted their search according to the search warrant. During a

search inside the shop, various items of evidence were located including, but not limited to, the

following:

             a. Multiple pieces of mail addressed to Robert BROWN, including a check

                belonging to BROWN. Additionally, a jail lettered addressed to “Rob.”

             b. Suspected methamphetamine, which was located inside of a black magnetic box

                which was attached to a metal shelf.

             c. A Black un-serialized 9mm privately manufactured handgun, which was loaded

                with 9mm ammunition, and was located on the shelf where the black magnetic

                box had been attached. The handgun was loaded with 11 rounds of assorted 9mm

                ammunition.

                    i. The assorted ammunition was manufactured by the following: Federal

                        Cartridge Company, Sig Sauer Ammunition, Winchester Ammunition,

                        Fiochhi Munizioni, and Sellier & Bellot.

             d. Suspected blue “M-30” pills (which are commonly counterfeit pills containing

                fentanyl). A digital scale with white residue on it.

             e. A .40 caliber round of ammunition on a tray which was on a shelf. Next to this



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                item was a “Middle Class Tax Refund” debit card belonging to BROWN. Next to

                this item was a brown wooden box with gun cleaning brushes inside.

                    i. The ammunition was manufactured by Winchester Ammunition.

             f. A large amount of cash.

             g. A prescription bottle addressed to N.W. which was contained inside of a backpack

                on top of a makeshift bed.

       19.      N.W. was present at the time of the execution of the warrant. A CCCSO detective

provided a copy of the search warrant to N.W. N.W. asked what was seized. The detective

informed her a firearm, methamphetamine, US currency and BROWN’s cell phone were seized.

The detective asked N.W. if any those items belonged to her. N.W. denied possessing of any of

the items listed on the search warrant return which was provided to her.

          20. CCCSO deputies arrested BROWN for various state drug/firearm violations,

which also included felon in possession of a firearm.

          21. The seized suspected methamphetamine from the magnetic box was later

submitted to the CCCSO Forensic Services Division. The drugs were found to test positive for

methamphetamine.

          22. The firearm seized by CCCSO was later submitted to the CCCSO Forensics

Services Division to be DNA swabbed. I have reviewed the lab report which revealed the

following:

             a. Regarding a swab from the pistol grip, the report revealed the following: The

                DNA result was interpreted as a mixture of three individuals and determined to be

                suitable for comparison. The mixture is at least 34 octillion (10^27) times more

                likely if it originated from BROWN and two unknown, unrelated individuals than



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                if it originated from three unknown, unrelated individuals. This analysis provides

                very strong support for the proposition that BROWN is a contributor to the

                mixture.

             b. Regarding a swab from the pistol slide and rear red dot sight, the report revealed

                the following: The DNA result was interpreted as a mixture of four individuals

                and determined to be suitable for comparison. The mixture is at least 20 octillion

                (10^27) times more likely if it originated from Brown and three unknown,

                unrelated individuals than if it originated from four unknown, unrelated

                individuals. This analysis provides very strong support for the proposition that

                BROWN is a contributor to the mixture.

                                         Interstate Nexus

       23.      The firearms recovered from the August 18, 2022, arrest of BROWN contained

three (3) rounds of 9mm ammunition and ten (10) rounds of .22 caliber ammunition.

       24.      The firearm recovered from the December 1, 2022, search of BROWN’s shop

contained eleven (11) rounds of 9mm ammunition. An additional one (1) round of .40 caliber

ammunition was also recovered.

       25.      Based on my training and experience, and from speaking with ATF Interstate

Nexus Expert Special Agent Richard Timbang, I know that the ammunition recovered was all

manufactured outside of California.

                            BROWN’s Prior Felony Convictions and
                                   Criminal History Summary
       26.      I reviewed BROWN’s criminal history report and found him to have sustained

multiple prior felony convictions including the following conviction:

             a. On or about May 25, 2021, BROWN was convicted of violating California Penal

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               Code 29900(A)(1) - possession of a firearm by an individual who has been

               convicted of a violent offense. This felony crime is punishable by a term of

               imprisonment exceeding one year. BROWN was sentenced to 16 months

               imprisonment for this crime.

       27.     I reviewed BROWN’s criminal history and found him to have approximately six

additional felony convictions, including for assault with a firearm on a person and numerous

convictions possession of a controlled substance for sale. His criminal history also includes past

arrests for and not limited to the following: burglary, carry loaded firearm public place, carry

concealed firearm in vehicle, battery on person, vehicle theft, probation violation, prohibited own

ammunition, possess marijuana for sale, possess controlled substance for sale, murder, assault

with a firearm on person, felon in possession of a firearm, violate parole, transport controlled

substance, evading peace officer, etc.


                                           CONCLUSION

       28.     Based upon the foregoing, I believe probable cause exists that on or about

December 1, 2022, BROWN possessed ammunition in violation of 18 U.S.C. § 922(g)(1). As

such, I respectfully request a warrant for his arrest.


                                                /s/ Nathan Sanchez
                                         Special Agent Nathan Sanchez
                                         Bureau of Alcohol, Tobacco, Firearms, and Explosives

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
phone.
      WK
THIS ________ DAY OF JUNE, 2023.

_________________________________
HON. DONNA M. RYU
CHIEF MAGISTRATE JUDGE

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